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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
NELSON ROSARIO,                                                                        10/16/2020
            Plaintiff,
       -against-                                    19-CV-6789 (AJN) (BCM)
EL NUEVO AMANECER REST. CORP.                       ORDER
AND GERMANIA BELLO,
            Defendants.

BARBARA MOSES, United States Magistrate Judge.

         On May 19, 2020, the Court held an initial case management conference, attended by
plaintiff's counsel and pro se defendant Germania Bello. Because the parties expressed an
interest in early mediation, the Court did not set a discovery schedule (aside from the exchange
of initial disclosures by June 2, 2020). (Dkt. No. 29.) Instead, the Court referred the case to the
Court-annexed Mediation Program pursuant to Local Civil Rule 89.3(e)(3), with mediation to
take place no later than July 31, 2020. (Dkt. No. 28.) Thereafter, in light of plaintiff's pro se
status and need for a translator, the Court issued a Supplemental Mediation Referral on May 27,
2020, directing the Clerk of Court to locate pro bono counsel (who speaks English and Spanish)
for defendant Bello, and deferring the time to assign a mediator under Local Rule 83.9 and the
Court's Mediation Program Procedures until such counsel filed a Notice of Limited Appearance
of Pro Bono Counsel. (Dkt. No. 30.) The Court also extended the deadline to complete mediation
to August 31, 2020. (Id.)

        Plaintiff's counsel filed an Affidavit of Service on June 23, 2020 (Dkt. No. 31), affirming
that he served defendant Bello by emailing Carmen Garcia (her daughter, who acted as translator
at the initial case management conference) with the Supplemental Mediation Order. Since then,
no activity has taken place in this matter. The Court has been informed that the New York Legal
Assistance Group attempted to reach Ms. Bello to provide her pro bono counsel for mediation,
but that, although she was initially responsive to text messages, she stopped responding before
pro bono counsel could be appointed, and has not responded to emails regarding the same.

       Accordingly, the Mediation Referral Order (Dkt. No. 28) and the Supplemental
Mediation Referral Order (Dkt. No. 30) are hereby WITHDRAWN.

        Judge Moses will conduct a status conference on November 2, 2020 at 11:00 a.m. At
that time, the parties shall dial (888) 557-8511 and enter the access code 7746387. Defendant
Bello is warned that failure to attend the status conference could result in significant
sanctions, including the entry of a default judgment against her and in favor of the
plaintiff.

       Counsel for plaintiff, Abdul K. Hassan, is directed to serve a copy of this Order on
defendant Bello by email, care of Carmen Garcia, at cgarcia@gordonschool.com, and to file
proof of such service on the docket. Further, attorney Hassan should contact Ms. Bello by the
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best available means (including the means he used to contact her in connection with the initial
case management conference) to confirm that she is aware of and will attend the status
conference, and to determine if she will be able to arrange for a family member or other person
to serve as a translator at that conference. If attorney Hassan is unable to confirm that a translator
will attend on behalf of Ms. Bello, he is directed to use reasonable efforts to arrange for a person
fluent in English and Spanish to attend the status conference and assist with translation.

       Dated: New York, New York
             October 16, 2020

                                               SO ORDERED.



                                               ________________________________
                                               BARBARA MOSES
                                               United States Magistrate Judge




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